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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK



In re HAIN CELESTIAL HEAVY METALS         Case No.: 2:21-cv-00678-JS-AYS
BABY FOOD LITIGATION
                                          MEMORARNDUM IN
This Document Relates To: All Actions     FURTHER SUPPORT
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I.     ARGUMENT

       Plaintiffs Lisa Gray and Heather Age (“Plaintiffs”) respectfully moved this Court, pursuant

to Federal Rule of Civil Procedure 23(g)(3), to appoint the following interim Co-Lead Counsel on

May 27, 2021, as Docket No. 64 et seq.:

       •       Gary F. Lynch of Carlson Lynch, LLP (“Carlson Lynch”);

       •       Jeffrey K. Brown of Leeds Brown Law, P.C. (“Leeds Brown”); and

       •        Judge John G. Marks (Ret.) as liaison counsel.

       Subsequently, Gary F. Lynch withdrew from consideration as class counsel or as part of

any leadership team. Dkt. No. 93. Leeds Brown and Mr. Marks remain committed to participating

in this action, advising their clients, appearing before this Court, and working as or with a

leadership group that prosecutes these claims. Leeds Brown’s and Mr. Marks’ history of serving

individuals within New York courts, including this Court, are well established, and noted in the

moving papers. See Dkt. Nos. 64-1, 64-4, and 64-5; see also Dkt. No. 89 (acknowledging Mr.

Marks as a qualified jurist); Dkt. No. 86 (acknowledging the “CLLB Team is no doubt qualified”).

Mr. Marks’ history in protecting the interest of families and serving the public at large is especially

noteworthy given the nature of the claims here and the products in question. See Dkt. No. 64-5.

Leeds Brown’s history of litigating before this Court and prosecuting class actions is well-

established.

       As such Leeds Brown and Mr. Marks are open to serving as Interim Lead/Co-Lead and/or

Liaison Counsel on an Executive Committee, working with lead counsel, or in any capacity

envisioned by the Court. Given the diverse and talented group of attorneys and firms seeking

appointment to a leadership role in this case, the Court will easily be able to select a leadership

group that looks out for the interest of the class, that capably prosecutes these claims, and allows
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for the efficient prosecution of the action. Leeds Brown and Mr. Marks will help serve that interest

in any capacity the Court sees fit. Our leadership and/or participation will help ensure protections

for all affected individuals, and will ensure that a voice known to the Court participates in the

leadership of the case.



II.    CONCLUSION

       For all the reasons set forth above, the undersigned counsel respectfully requests that this

Court appoint lead counsel in accordance with the standard set forth in FRCP 23(g) and include

Leeds Brown and Judge Marks in a role to protect the interest of the putative class members and

the Plaintiffs presently involved.



Dated: June 17, 2021                           LEEDS BROWN LAW, P.C.

                                         By: /s/ Jeffrey K. Brown
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